8CvL S$ 0O'SL S$ 7ELZ LL ETT sjeqol

 

 

 

 

 

 

- S - - - oS - SS'SZ GT/0€/60 - ST/Z2/60
€€l $ 900TO 28070 TLOLE $ 2ZZ°€I @Z'ES GT/92/60 - ST/02/60
S67T $ S8T60 69€8T 6279 S$ OT PT 00°SE GT/6T/60 - ST/9T/60 LLETT 00°SZ S$ ST0Z/S/0
- Ss - § 8@€ €9'V8 S}EOL
- S - - -  S OT'6T ST/ST/60 - ST/€T/60
- S$ - ~- § - G77e GT/ZT/60 - ST/90/60
- s - - - S$ 8@€ BEE GT/S0/60 - ST/TO/60 €9'v8 -  § §St0z/Tz/6
we 6S oo'sZ S$ £88 18°86 sjeqOL
- S$ SSesSO OTZOT TLOT S~ - 00°0T GT/TE/80 - ST/O€/80
7ZeE $ LOTLO vitrt 6279 $ EUS €z'Sv S1/62/80 - St/€z/80
- S - - - § 9rE v9 EV S1/@7/80 - ST/9T/80 L8°86 00'SZ $ STO0Z/v/6
ETOl $ 00'SL S$ 872702 87 OOT S|BJOL
seO S %@6@I0 v0S7TO TLOL S$ 8L7 BLY ST/ST/80 - ST/60/80
826 $ T6SSO0 TI8TITT 6279 $ OSLT os°Zs ST/80/80 - ST/Z0/80 82 O0T 00'SL $ ST0Z/02Z/8
- OS - § 06% TE'66 S|EIOL
- S$ - - - § STT ST Tv ST/T0/80 - ST/92/LO0
- S - - -  S - Tv'6€ ST/SZ/L0 - ST/6T/LO
- S - - - § g§Z£g9 SL'8T GT/8T/LO - ST/ST/LO TE66 -  § §T02/S/8
- OS - § S@E SZTL s|e}0 1
- S$ - - S$ = 00°82 ST/ST/ZO - ST/ZT/LO
- S - - - § G@eE Sv er ST/TT/LO - ST/S0/L0 S@TZ -  § §TOz/Oz/Z
ang feloL ang ayey ayey Ae€g SinOH SINOH YIIVM OM SANOY jeyoy Aed {jeQUO Aeqhegd
qunowy = Joye oayeyngjey— YENUQ. aWIaAQ = APaaM
jeuoiippy Apjaam Jeo] jeqOL

QTOZ ‘67 Ainf 03 STOZ ‘9 Aine yuoAA BIL
sey WEL

 

   

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“Zyl $

v607 $

wre = 6§

88ST S$

60°SZ $

 

 

 

 

 

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zw60z = $
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OTT §$
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v96 = 6§
sz79 6§
- $
Tet =6§
BLzez §
- $
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- $

Tetto
£9€9°0

SEETO
8T8Z0

£90T'0
cES9'0

£969'0
S2v9°0

EtoT’o
£969'T

T8é7'0
cece T

69970
Stoo T

92720
v90e T

Ef6ET
6v6T T

$2020
976E°E

 

 

 

 

 

 

 

OOS. $ rT vr'L6
TLOT $ S69 S691
679 S$ 6Y'OT 6v'0S
- $ - -
oO'sd $ SE8Z TL22T
- § OPT 9r'TY
TLOT $ €T0 €T Ov
6779 $ 92°92 ZI ty
- § TEST O€ €0T
- v9'Sz
- $§$ 8@8 87'8P
- § €0L 8E'67Z
00'SL $ 8S°6T €@'LIT
- GO'LT
TLOT $ LEOT LE'0S
6779 $ TUG TZ'6v
OO'OSTS 8Pr'EZ Sb €OT
TLOI $) - -
OO'SL $ ESET €s'eS
6779 $ S9'°6 S9'6y
OO'SL $ LUBE OZ’ EZT
- § SEIT SETS
TLOL $ O62T 06°25
679 $ Z0'DT S6'8T
- § 9L2T 87° ZOT
- $$ - LOSE
- § 99°0T 99°05
- $§ OFZ SOT

$]2}0L
9T/ST/TO - 9/0T/TO
91/60/TO - 9T/€0/TO
91/Z0/TO - 9T/TO/TO

sje}0L
ST/TE/ZT - ST/L2/2T
ST/92/@T - ST/0¢/2T
ST/6L/ZT - ST/9T/2T

sjeqOL
ST/ST/ZT - ST/ET/ZT
ST/2t/Zt - ST/90/ZT
ST/SO/2T - ST/TO/ZT

sje3OL
ST/OE/TT - ST/6Z/TT
ST/6Z/TT - ST/2@2/TE
ST/TZ/TT - ST/9T/TT

sjezo]
STO?/ST/TT
ST/pT/TtTt - St/8/TT
ST/LO/TT - ST/TO/TT

sjeqoy
ST/TE/OT - ST/SZ/OL
ST/vZ/OT - ST/8T/OT
ST/LE/OT - ST/9T/OT

sjeyoL
ST/ST/OT - ST/TT/OT
ST/OT/OT - ST/70/OT
ST/€0/0T - ST/TO/OT

 

 

 

vr'L6

00°8- Aepijo}H

tr'sot 00°SZL $ 9T0Z/02/T
TL72T

00°8- AeptioH

TLOET 00'SL $ 9T02/S/T
O€€0T - § S§LO%/T2/2T
ET LIT

00'8- Aepyoy

€@'S7T 0O'SL $ STOZ%/b/2T
BY'EOT OO'OST $ STOZ/0Z/TT
OZ EZT 0O'SL $ STOZ%/S/TT
87’ Z0T - = § §1T02/0z/0T

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- S -
- $ -
- S -
9ZT §$
TOT $ 880T'O
9LT $ 96520
-~ S -
- S$
- $ ~-
~ $ -
~ S -
wi §
- S 8ZTtZ0
wvL $ TS8T90
- S -
697 §$
~ S -
660 $ 260T0
oze $ vO0E6O
- S$
- $ -
- $ -
- $ -
“sg Ss
- $ -

Teo $ ZITTO
99'r $ 0289°0
- $ -

SLTc0
T6TS'T

SSEv'O
TIECT

v8tto
8098'T

ect¢c'0

OPZe T

 

 

 

 

 

 

- § €TT ET Ty
- § Br'zE
- $ -
0O'sZ $ LETT 59°66
TLOT $ S76 S7@'6v
62779 $ 7E7 zety
- $ = 80°8
- § 9S°6T S6'€0T
- $$ - 86°87
- § 68'€ 68"Er
- § “gst SO'TE
00'sZ $ ST'9Z ZEO2T
TLOT Ss - 6S'7Z
6779 $ TOT TO'7S
- § vt rt 7LEv
00'SZ $ TO'ET 00°r6
- $$ - zv'0l
TLOT $ €0°6 €0°60
67779 $ 86 SSE
- § 80T Ov'08
- $ + €v'6
- $ > 68°62
- § 80T 80'TY
00'SL $ LE6PT L6°v6
- S - -
TLOL $ 818 8T'8Y
679 S$ 619 6L90
- S$ - ~

9T/0€/v0 - 9T/#2/70
91/€Z/v0 - 9T/LT/vO
9102/9T/P

$j2}01
9T/ST/v0 - 9T/0T/vO
91/60/v0 - 9T/€0/70
91/20/v0 - 9T/TO/70

sjeqoy
9T/TE/EO - 9T/L27/€0
91/92/€0 - 9T/0Z/€0
9T/6T/€0 - 9T/9T/E0

S|EIOL
9T/ST/E0 - 9T/ET/EO
9T/ZT/E0 - 9T/90/€0
9T/S0/€0 - 9T/T0/€0

sjeqoL
91/6¢/Z0 - 9T/87/ZO
91/27/20 - 9T/T2/70
91/02/70 - 9T/9T/zO

sjeqoL
9t/ST/Z0 - 9T/vT/Z0
91/€T/Z0 - 9/20/20
91/90/70 - 9T/T0/Z0

sjeqoL

9T02/TE/T
9T/0€/TO - 9T/vZ/TO
9T/€Z/TO - 9T/LT/TO
9T/9T/TO

T9'EL

59°66
00'P-
S9°e0T

 

S6°EOT
00'r-
S6°Z0T

 

ceOeT

00'V6
00°8-
OO0°cOT

 

Ov'08
00°8-
Ov'38

 

L606

-  § 9t02z/s/s

Old
00'SL $ 9102/02/¥

Old
- § 9102/S/P

00°SL $ 9T02/TZ/E

Olid
00'SL $ 9102/v/E

Old
-  § 9102/6T/z

00°SL $ 9T02/S/Z

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“eg 6§
sv'0 $ 922T0
wos = =6©$ 9559°0
- S -
6sze §
- S -
sv0 6$ 8zzT‘O
-ST'ZE $ pSTOT
- $
- $ -
- S -
- S ~
- $
- S -
- S -
- S ~
Sor Ss
- $ -
LUT $ 9pPOT‘O
sve $ LT%L0
- S$
~ S -
- S -
- S -

TSvz0
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sSvz0
LOETE

T6070
very t

 

 

 

 

 

 

OO'SL $ 72Z°7T ZL'26
TLOL $ 69°E 69° EP
67779 $ £€0°6 €0°6r
- 5 - -
00'S. $ €ES'EZ 88°26
- S$ - SEE
TLOT $ €9'€ e9'cp
6779 $ O6°6T 06°6T
- § O60T 06°ZOT
- § OTO Ot'0v
- § £2 LS tv
- § €78 €Z7'02
- § 99TT 98°€0T
- § - 00°82
- § 99TT 99'TS
- § - O@' rz
00s. $ ZLLST Z8°€0T
- § - So's
TLOT S$ €EZTT EZ7'TS
62779 S$ PSP eS PY
- § SOTT SO'T6
- S -
- §$ 90T SO'TY
- $ 666 66°67
- § €LT TO'EL

 

s[eJOL

91/0€/LO - 9T/vz/L0
9T/€7/LO - 9T/LT/LO
91/9T/L0

sjeq0L
9T/ST/LO - 9T/0T/LO
91/60/20 - 9T/€0/L0
91/20/20 - 9T/T0/L0

$j2}0
91T/0€/90 - 91/97/90
91/S$Z/90 - 9T/6T/90
9T/8T/90 - 9/91/90

sj220L
9T/ST/90 - 9T/ZT/90
‘9T/TT/90 - 9T/S0/90
91/v0/90 - 9T/T0/90

sjeqoy
9T/TE/SO - 9T/67/SO
91/82/50 - 9/77/60
91/TZ/S0 - 9T/9T/S0

sjeqoL
9T02/ST/S

9T/vT/S0 - 9T/80/S0

9T/L0/S0 - 9T/TO/SO

sjeoL

cL 76
00°7S-
cL ert

 

83°26
00°CT-
88°60T

 

o6°c0T

98°€0T

f8°tOT
00°8-
eS TTT

 

SO'T6

UOI{IIW OT 03 Speoy

Old
oo'sz $ 9T02/s/8

Old 7g AeplioH

00's< $ 9T02/02/Z

-  § 9102/S/L

-  § 9102/02/9

Aepyjou

00°SZ $ 9T02/9/9

-  $§ 9102/0¢/s

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8EO6T S

88°72 $

JEJOL PURO

 

Be7zZ $ «Tzs07

TvOT'y

 

00°;00LS STITT 9S°0LT
ST'T ST Tv
0 Ty'6e
SLg SL'9v
cve Sv ev

sjeqoL
ST/TE/L0 - ST/9Z/20
ST/S2/L0 - ST/6T/20
ST/8T/L0 - ST/ZT/20
ST/TT/LO - St/S0/20

WZ 00LS

ST07/07/8

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